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                    UNITED STATE DISTRICT COURT
                 FOR THE DISTRICT OF MASSACHUSETTS
______________________________
                               )
PAUL SNIADACH, Personal        )    No. 20-cv-30115
Representative of the Estate )
of Joseph Sniadach,            )
                               )
     On behalf of all others )
     similarly situated,       )
                               )
          Plaintiffs           )
                               )
 v.                            )    COMPLAINT AND
                               )    JURY TRIAL DEMAND
BENNETT WALSH,                 )
DAVID CLINTON,                 )
VANESSA LAUZIERE,              )
CELESTE SURREIRA,              )
                               )
     and                       )
                               )
FRANCISCO URENA,               )
                               )
          Defendants           )
                               )

                             INTRODUCTION

     1.   The Commonwealth of Massachusetts made a promise to

its citizen-soldiers: you take care of us in times of conflict,

and we will take care of you when you return.        Although the

Massachusetts veterans residing at the Soldiers’ Home in

Holyoke, Massachusetts (“Soldiers’ Home”) kept their promise to

serve their country, the Commonwealth did not keep its promise

to protect and keep them safe from harm when they were unable to

care for themselves.    Instead of providing the veterans the

appropriate care to which they were entitled, the five


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defendants in this lawsuit showed deliberate indifference to the

veteran’s basic needs.       As a result of the defendants’ actions

and inactions, 76 veterans unnecessarily died and another 84

veterans were unnecessarily infected with the deadly COVID-19

virus.     Our veterans deserved better.

    2.       This is a civil rights class action, brought pursuant

to the Fourteenth Amendment and 42 U.S.C. § 1983 by the Estate

of Joseph Sniadach (“Estate”), a veteran who died as a result of

a COVID-19 outbreak at the Soldiers’ Home.          It is also brought

on behalf of all other residents of the Soldiers’ Home who

contracted COVID-19, including the estates of those veterans

who, like Mr. Sniadach, died of COVID-19-related illness

contracted while residing at the Soldiers’ Home.           This case

seeks to redress the needless pain, suffering, and death that

these veterans endured as a result of the actions of the

defendants, who were entrusted with their care, but who were

denied the most basic elements of decent care, adequate

treatment, and safety.

    3.       Each of these five defendants acted with deliberate

indifference to the risks posed by the COVID-19 pandemic, an

indifference that resulted in the spread of COVID-19 throughout

the Soldiers’ Home.       The spread of COVID-19 at the Soldiers’

Home was preventable.

    4.       The facts that led to the needless deaths and

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infections of veterans at the Soldiers’ Home from COVID-19 are

not genuinely in dispute.       An independent investigation,

commissioned by the Governor of the Commonwealth, details the

unprofessional, unethical, and deliberately indifferent behavior

of the five individuals primarily charged with the care of the

veterans at the Soldiers’ Home, the defendants in this lawsuit.

The investigation report, “The COVID-19 Outbreak at the

Soldiers’ Home in Holyoke: An Independent Investigation

Conducted for the Governor of Massachusetts” (“Report”),

attached as Exhibit 1,1      describes a litany of “utterly baffling”

misrepresentations, misjudgments, mistakes, and blatant errors,

which by any standard amounted to a callous disregard for the

health and safety of the veterans residing in the Soldiers’

Home.

     5.     Although no legal proceeding can ever restore the

lives of the 76 veterans who died unnecessarily at the Soldiers’

Home, or restore the health of the other 84 veterans who

unnecessarily contracted COVID-19, this case seeks to right

those wrongs and afford these citizen-soldiers and their

families some modicum of respect for their losses.

                                  PARTIES

     6.     The plaintiff, Paul Sniadach, is the Personal


1 The Report is also available at https://www.mass.gov/doc/report-
to-governor-baker-re-holyoke-soldiers-home/download.
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Representative of the Estate of Joseph Sniadach.        See Hampshire

County Probate and Family Court No. HS20P0353EA.        Paul Sniadach

lives in Easthampton, Massachusetts.

    7.    Pursuant to Federal Rule of Civil Procedure 23, the

plaintiff seeks to certify a class of similarly situated

individuals and/or estates of individuals who, like the

plaintiff, contracted COVID-19 while residing at the Soldiers’

Home in Holyoke, Massachusetts between March 1, 2020, and June

23, 2020, and suffered as a result.

    a.    Certification of a class pursuant to Rule 23(a) is

          appropriate because:

            i. The class is so numerous that joinder of all

                members is impracticable.      At least “76 Soldiers’

                Home veterans who were COVID-19 positive died in

                the 11-week period between March 25, 2020 and

                June 12, 2020,” and at least an additional 84

                veterans contracted COVID-19 during that time

                period.   Report at 6, 113.

           ii. There are common questions of law or fact,

                including: (1) Whether the defendants acted or

                failed to act in a manner that deprived residents

                of the Soldiers’ Home of their civil rights,

                including their rights to safety, freedom from

                harm, and the full enjoyment of their lives; (2)

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           Whether the defendants substantially departed

           from acceptable professional standards in

           providing care to residents of the Soldiers’

           Home; (3) Whether the defendants’ actions and

           inactions constituted deliberate indifference to

           the health and safety of residents of the

           Soldiers’ Home; and (4) Whether the defendants

           acted in a manner that caused the death of

           residents of the Soldiers’ Home.

     iii. The claims or defenses of the named plaintiff are

           typical of the claims or defenses of the class,

           since all suffered from a common cause, the

           result of the common actions of the defendants.

      iv. The named plaintiff will fairly and adequately

           protect the interests of the class, and there are

           no antagonistic interests with other members of

           the class.

b.   Certification of a class pursuant to Rule 23(b)(3) is

     appropriate because “questions of law or fact common

     to class members predominate over any questions

     affecting only individual members, and . . . a class

     action is superior to other available methods for

     fairly and efficiently adjudicating the controversy.”

c.   Appointment of undersigned counsel as class counsel is

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          appropriate under Rule 23(g) because counsel has more

          than four decades of experience with complex

          litigation and has the resources necessary to commit

          to representing the class.

    8.    The defendant, Bennett Walsh, is the former

Superintendent of the Soldiers’ Home in Holyoke, Massachusetts.

He currently resides in Massachusetts.

    9.    The defendant, Dr. David Clinton, is the former

Medical Director of the Soldiers’ Home in Holyoke,

Massachusetts.   He currently resides in Massachusetts.

    10.   The defendant, Vanessa Lauziere, is the former Chief

Nursing Officer of the Soldiers’ Home in Holyoke, Massachusetts.

She currently resides in Massachusetts.

    11.   The defendant, Celeste Surreira, is the former

Assistant Director of Nursing of the Soldiers’ Home in Holyoke,

Massachusetts.   She currently resides in Massachusetts.

    12.   The defendant, Francisco Urena, is the former

Massachusetts Secretary of Veterans’ Affairs.        He currently

resides in Massachusetts.

                       JURISDICTION AND VENUE

    13.   This Court has subject matter jurisdiction over this

action under 28 U.S.C. § 1331 because the claims arise under the

laws of the United States, i.e., the Fourteenth Amendment to the

United States Constitution and 42 U.S.C. § 1983.

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    14.   This Court has supplemental jurisdiction over any

state law claims the plaintiffs might bring pursuant to 28

U.S.C. § 1367(a).

    15.   This Court has personal jurisdiction over the

defendants because they each reside in Massachusetts and, during

the relevant time period, they each worked in Massachusetts

where the incidents underlying the Complaint occurred.

    16.   Venue is proper in the Western Division of this Court

because all parties reside in either Hampshire County or Hampden

County, except for Secretary Urena, who resides in another

county within Massachusetts.

                          FACTUAL BACKGROUND

    A.    Background Regarding the Soldiers’ Home in Holyoke

    17.   The Soldiers’ Home in Holyoke was established by

statute in 1946 and is governed by G.L. c. 6, §§ 17, 70, and 71.

    18.   Chapter 70, § 70 creates a seven-member Board of

Trustees, comprised of residents of Berkshire, Franklin,

Hampden, and Hampshire counties.       Its members are appointed by

the Governor of Massachusetts.

    19.   Chapter 70, § 71 charges the Board of Trustees with

the appointment of a Superintendent, who serves as the

“administrative head of the home” and who shall, “subject to the

approval of the trustees, appoint and may remove a medical

director. . . .”

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    20.      Bennett Walsh was appointed Superintendent of the

Soldiers’ Home on May 29, 2016.         Mr. Walsh served as

Superintendent until March 30, 2020.

    21.      Chapter 70, § 71 provides that the “medical director

shall have responsibility for the medical, surgical and

outpatient facilities and shall make recommendations to the

superintendent regarding the appointments of all physicians,

nurses and other medical staff.”

    22.      Dr. David Clinton served as Medical Director of the

Soldiers’ Home during the relevant events set forth in this

Complaint.

    B.       State and Federal COVID-19 Guidance

    23.      The SARS-COV-2 coronavirus is referred to throughout

this Complaint as “COVID-19.”

    24.      Beginning in February 2020, the Commonwealth and the

United States government began promulgating guidance directed at

protecting people from COVID-19, guidance which expressly

directed institutions to (a) identify patients with COVID-19,

and (b) isolate patients with COVID-19 from other patients and

staff.

    25.      As the Report clearly established, isolating suspected

cases of COVID-19 was epidemiology 101.          The Soldiers’ Home

received clear directives to that effect, including the

following:

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 a. “[O]n March 6, 2020, Elvira Loncto (a federal VA
    employee) distributed COVID-19 guidance to Mr.
    Walsh . . . . [that] advised limiting staff
    movements   between  COVID-19   contaminated   and
    unaffected areas, screening and limiting visitors,
    assessing residents daily for symptoms, developing
    an isolation plan for suspected cases, and
    encouraging social distancing.”     Report at 60
    (emphasis added).

 b. “On March 12, 2020, Paul Moran (Department of
    Veterans’ Services Chief of Staff) forwarded an
    email . . . to Mr. Walsh . . . . attach[ing] COVID-
    19   guidance   for   assisted-living   facilities,
    congregate care programs, agency based in-home
    caregivers and workers, community day programs, and
    non-agency based in-home caregivers. . . . The
    community day program, congregate care program, and
    assisted living facilities guidance        directed
    isolating symptomatic individuals. The assisted-
    living   facility   guidance   specified   that   a
    symptomatic resident should be moved to a single-
    person unit with the door closed.” Report at 61
    (emphasis added).

 c. “On March 12, 2020, the CDC released guidance
    detailing ‘what healthcare personnel should know
    about caring for patients with confirmed or
    possible’ cases of COVID-19. This March 12, 2020
    guidance recommended isolating patients suspected
    of COVID-19, among other precautionary measures. In
    particular the guidance recommended “placing a
    facemask on the patient and placing them in an
    examination room with the door closed in an
    Airborne Infection Isolation Room (AIIR), if
    available.” Report at 61 (emphasis added).

 d. “The Department of Public Health issued another
    policy memorandum on March 16, 2020, focused on
    long-term care facilities. This memorandum replaced
    previous long-term care facility guidance issued on
    March 11, 2020. The memorandum: (i) restricted
    visitation by all visitors and non-essential health
    care personnel, except in certain compassionate
    care situations; (ii) suspended all communal
    dining, internal, and external group activities;
    (iii) recommended the use of eye protection, gowns,
    and gloves while caring for residents; (iv)
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          required facilities to perform temperature checks
          at entryways (individuals with temperatures over
          100.3 degrees Fahrenheit were not permitted to
          enter the facility); and (v) recommended that
          patients with known or suspected COVID-19 be cared
          for in single-person rooms with the door closed.”
          Report at 62 (emphasis added).

    C.    Failed Preparation at Soldiers’ Home

    26.   The Soldiers’ Home leadership team, including the

defendants, Bennett Walsh (Superintendent), David Clinton

(Medical Director), Vanessa Lauziere (Chief Nursing Officer),

and Celeste Surreira (Assistant Director of Nursing), met in

early March to discuss measures to prevent the introduction and

spread of COVID-19 at the Soldiers’ Home.

    27.   Dr. Clinton was tasked “with monitoring CDC and

Department of Public Health guidelines and providing updates to

the team.”   Report at 74.   These guidelines would and/or should

have included the guidelines described in Paragraph 25 above.

    28.   Despite the repeated guidance from the Commonwealth

and the federal government, no isolation rooms were ever used

during Mr. Walsh’s tenure as Superintendent.

    29.   In addition, staff at the Soldiers’ Home had

inadequate access to Personal Protective Equipment.        Indeed,

staff were discouraged from using Personal Protective Equipment.

See Report at 70-71.

    D.    “Veteran 1”

    30.   As explained in detail below, the first veteran at the

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Soldiers’ Home diagnosed with COVID-19 (referred to in the

Report as “Veteran 1”) had clear symptoms that he carried the

virus in February 2020, but he was not tested until March 17,

2020, and, even after receiving his positive test result on

March 21, 2020, the defendants allowed Veteran 1 to continue

living among other veterans and staff because, in Dr. Clinton’s

opinion, consideration of whether to isolate him was a “moot

point” since “everyone has been exposed [to COVID-19] already.”

Report at 78-80.

    31.     More specifically, Veteran 1, who resided in the

dementia unit, “first showed symptoms consistent with COVID-19

in February, including a high-pitched cough and fever.”         Report

at 78.    Despite these classic COVID-19 symptoms, Veteran 1 was

not tested for COVID-19.    Instead, he was tested for “pneumonia,

strep, and the flu” in February and early March.        Report at 78.

    32.     On March 15, 2020, a veteran nursing aide reported to

Ms. Surreira that Veteran 1 “was weak, feverish, and coughing

more than he had been previously.”      He was still not tested for

COVID-19.   Report at 79.

    33.     Even after Veteran 1 was finally tested for COVID-19

on March 17, 2020, inadequate precautions were taken to mitigate

the potential spread of the virus from Veteran 1 to other

veterans (or staff) with whom he had come in contact.        Report at

79-80.

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    34.   To the contrary, following Veteran 1’s COVID-19

diagnosis, the defendants repeatedly made decisions that further

exacerbated the spread of COVID-19 at the Soldiers’ Home:

    As soon as his positive test result was received (four
    days after Veteran 1 was initially swabbed for COVID-
    19) Veteran 1’s three roommates were moved to a different
    room. Prior to this, one of Veteran 1’s roommates was
    “very mobile” and frequently visited other rooms.
    According to Ms. Lauziere, none of Veteran 1’s roommates
    were exhibiting COVID-19 symptoms at this time.

    After testing positive, staff attempted to keep Veteran
    1 in his room. The door to Veteran 1’s room was supposed
    to remain closed, but staff largely ignored this policy
    and kept the door open for faster access . . . .

    When Veteran 1 tested positive, Dr. Clinton and Ms.
    Lauziere again discussed whether Veteran 1 should be
    moved to the isolation unit. Dr. Clinton advised against
    doing so, as in his view others in 1-North had been
    exposed already, and the facility would be at risk if
    Veteran 1 got out of his room on an unsecured unit.

    . . . .

    Staff who worked on 1-North during the weekend of March
    21-22, 2020, after the test result confirmed that
    Veteran 1 was positive for COVID-19, continued to
    “float” and work in other areas of the facility,
    potentially spreading COVID-19. A nursing aide who
    primarily works on 2-North recalls being floated down to
    1-North on March 26. She was tested for COVID-19 on March
    27, and the result came back positive one week later. A
    laundry worker reports that he changed the curtains on
    1-North on March 22 and then proceeded to visit each of
    the other units for laundry purposes during the
    following week. This laundry worker later tested
    positive for COVID-19. A registered nurse recalled that
    even after Veteran 1 tested positive, nursing aides
    would be scheduled to work two hours on 1-North and then
    directed to complete the balance of their shift on the
    third floor. The nurse asked her supervisors, including
    Ms. Lauziere, why staff were floated between positive
    and negative units given the risk of spreading COVID-

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    19. Ms. Lauziere responded that the Home “had to work
    with the number of staff they had.”

Report at 81-82.

    E.    Mr. Walsh falsely reported to Secretary Urena that
          Veteran 1 had been quarantined.

    35.   Later in the evening of March 21, 2020, after Veteran

1’s COVID-19 test came back positive, Mr. Walsh informed

Secretary Urena of Veteran 1’s diagnosis, but, in doing so,

falsely stated that the Soldiers’ Home had isolated Veteran 1

from others.   According to the Report:

    Mr. Walsh emailed Secretary Urena (copying Paul Moran
    (Department of Veterans’ Services Chief of Staff),
    Stuart Ivimey (General Counsel for the Department of
    Veterans’ Services), and Anthony Preston (Communications
    Director for the Department of Veterans’ Services)),
    stating: “As briefed earlier in the week, (veteran with
    covid symptoms) we received the test results back on our
    veteran and the results are positive for covid-19. We
    have isolated said veteran and quarantined the unit.
    We’re currently are [sic] testing 5 other veterans and
    sending out their samples this evening for testing.
    We’ll have the full report once all the information is
    collected and protocol actions taken/implemented.”
    (emphasis added) Mr. Walsh did not explain that the
    Soldiers’ Home did not have adequate staffing to use the
    isolation rooms that had been set up on the third floor.

Report at 96 (emphasis in original).

    36.   Later that day, “In response to questions from Mr.

Moran, Mr. Walsh responded that ‘the protocol is to isolate the

veteran (which we did)’ and ‘staff has the necessary PPE at this

time,’” and, following that communication, Mr. Walsh wrote

directly to Secretary Urena and again falsely represented, “The


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veteran was isolated as soon as the positive test was received.”

Report at 97.

    F.     COVID-19 devastated veterans and staff at the
           Soldiers’ Home.

    37.    On March 27, 2020, the ill-fated decision was made to

combine the Soldiers’ Home’s two dementia units, despite the

fact that several veterans in those units had already been

diagnosed with COVID-19 and were obviously at high risk of

transmitting the virus to others.      According to the Report:

“Unit 2-North, one of the two locked dementia units, was closed

and all of its 21 veterans were moved to Unit 1-North—doubling

the number of veterans in 1-North (which previously held 21

veterans).   This required that veterans be crowded into rooms

and common spaces, with their beds inches apart.”        Report at 87.

    38.    Mr. Walsh, Dr. Clinton, Ms. Lauziere, and Ms. Surreira

were each involved in the decision to combine the two dementia

units.    Report at 88.

    39.    During the independent investigation, Mr. Walsh

admitted that “Ms. Lauziere informed him of the decision” to

combine the two dementia units, “that he did not overrule the

decision,” and that he “was aware that 1-North and 2-North

contained a ‘mix of those who were tested, pending test, and not

showing signs,’” but he maintained “that the ultimate decision

to combine the units was ‘a medical decision submitted to Dr.


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Clinton.’”    Report at 88-89.

    40.    Dr. Clinton denied responsibility for combining the

dementia units, but the Report “reject[s] as implausible Dr.

Clinton’s assertion that he was not involved in the decision. At

the very least, he acknowledges that he was aware of it, and—as

the ultimate clinical authority for the Soldiers’ Home—should

have involved himself.”    Report at 88-89.

    41.    The Report properly concluded that Ms. Lauziere’s

decision to combine the two dementia units was “inconsistent

with her training, inconsistent with reasonable judgment, and

inconsistent with her duty to the veterans at the Soldiers’

Home.”    Report at 89.

    42.    The Report laid out in detail the devastating impact

that the combination of the two dementia units had on veterans

and staff:

    Staff describe the move as “total pandemonium,” “when
    hell broke loose,” and “a nightmare.” They reported that
    “all of a sudden they just started moving people.” One
    staff member reported thinking: “How can they do this
    because this [is] the most insane thing I ever saw in my
    entire life?” She “felt it was like moving the
    concentration camp—we are moving these unknowing
    veterans off to die. I will never get those images out
    of my mind—what we did, what was done to those veterans.”

    A number of staff members reported discussions with Ms.
    Lauziere in which they questioned the decision to
    combine the two units, or tried to convince her to change
    course. One staff member reports that she “marched over”
    to Unit 1-North and asked Ms. Lauziere “what is going on
    . . . there are a lot of people here who are not showing
    symptoms and you are going to move them in with people

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who are and put them right on top of each other?”

With assistance from Ms. Surreira, Ms. Lauziere
“direct[ed] traffic” during the move. Housekeeping also
was instructed to remove tables and chairs from the
dining room on Unit 1-North so that veterans’ beds could
be lined up in the dining room. Ms. Surreira told
housekeeping staff that if they were not going to be on
the floor for more than 15 minutes, they did not need an
N95 mask and could use a surgical mask instead. Some
housekeeping staff refused, and ultimately received N95
masks to wear during the move.

After the consolidation, Unit 1-North was packed with 42
veterans. The veterans’ beds and nightstands were
directly next to each other and there were no privacy
curtains between them. None of the veterans’ clothing or
personal items were initially moved down to Unit 1-North
with them. There were insufficient outlets to plug in
the beds, so some veterans could not elevate their beds.
At times, [t]he names above the beds did not match the
veteran who was in the bed, although the veterans wore
ID bracelets and later the veterans’ names were posted
outside of their rooms. The dining room was made into a
bedroom with nine beds in it. Veterans were sitting in
common day rooms in their gowns.

One nursing aide reflected: “We always took pride in our
care with honor and dignity, and I thought my god where
is the respect and dignity for these men, we are leaving
them sitting there in johnnies more confused because
there is 40-something of them now.”

Social Worker Terri Gustafson (who has worked at the
Home for 21 years) reports that she saw Ms. Surreira
point to a room and state: “All this room will be dead
by tomorrow.” Similarly, at approximately 7:00 p.m. on
March 27, Social Worker Jill Orzechowski heard Ms.
Lauziere—while standing outside of a room on 1-North—
say “something to the effect that this room will be dead
by Sunday so we will have more room here.”

Ms. Orzechowski . . . . recalled raising concerns with
Ms. Lauziere about the risk of COVID-19 spreading, and
Ms. Lauziere responding that “it didn’t matter because
[the veterans] were all exposed anyway and there was not
enough staff to cover both units.”

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Report at 90-91.

    43.     The Report concluded:

    We find substantial evidence that the conditions and
    quality of care on the combined 1-North unit during the
    weekend of March 28-29 were deplorable. Clinical staff
    report that they tried to do the best they could under
    the   circumstances,    but    they   were    unprepared,
    understaffed, and without sufficient resources and
    guidance. Some staff members reported that they were
    struggling to provide adequate care, including to keep
    veterans hydrated and to provide sufficient morphine and
    comfort medications to certain veterans who were dying.
    Staff reported difficulties tracking which veterans had
    been fed. One staff member said she observed a COVID-19
    positive veteran who “had fecal matter on his socks and
    was laying on another vet’s bed.” Staff reported that
    they felt like it was “difficult” and “impossible” to
    keep the veterans in 1-North isolated from one another.
    Many of the veterans in the consolidated unit were “bed
    hoppers,” meaning that in the fog of dementia, they would
    climb into various beds on the units. Some nursing aides
    expressed a concern that they could not keep track of
    which veterans were positive and which veterans was
    negative for COVID-19.

    . . . .

    Social Worker Carrie Forrant provided . . . .

    It was surreal . . . I don’t know how the staff over in
    that unit, how many of us will ever recover from those
    images. You want to talk about never wanting this to
    happen again.

Report at 90-91.

    44.     The first confirmed COVID-19 death occurred on March

24, 2020, three days before the two dementia units were

combined.    Report at 92.

    45.     The dementia units were combined on March 27, 2020.


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    46.     Veteran 1 died on March 28, 2020.     Report at 93.

    47.     The rapid spread of COVID-19 and the rise in the death

toll after the two units were combined was anticipated by the

Soldiers’ Home’s leadership: “13 body bags” were delivered to

the 1-North unit on Friday, March 27, 2020, “shortly before the

consolidation of the two units began,” and on March 28, 2020, “a

tractor trailer refrigeration unit (ordered earlier in the week)

arrived outside of the Soldiers’ Home to store the remains of

veterans who passed away, as there was not enough space in the

morgue” to store the bodies of the veterans who had perished.

Report at 94.

    G.      Removal of Mr. Walsh as Superintendent.

    48.     Mr. Walsh was placed on administrative leave on March

30, 2020.    Report at 109.

    49.     As Mr. Walsh was placed on administrative leave, “a

response team organized by Secretary Sudders, Acting Secretary

Tsai, and Undersecretary Mick had arrived at the facility to

take command of the rapidly devolving situation.”        The team

quickly “triage[d] patients, compile[d] essential records,

institute[d] infection control measures, and sen[t] ill patients

to the hospital.”    Their actions significantly reduced the scope

of the outbreak.    Report at 110.

    50.     The National Guard assisted by “‘swabbing all

employees and residents,’ with the plan to ‘re-swab negative

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individuals every 48 hours.’ The Guard’s medical units

(consisting of doctors and nurses) assumed an active role in

patient care in place of the scores of Soldiers’ Home staff

members who were sick with COVID-19.”      Report at 110.

    51.   The team that converged at the Soldiers’ Home reported

shocking conditions.   According to the Report:

    •   Ms. Liptak and her team have a “collective 90-plus
        years of nursing,” but “none of us have ever seen
        anything” like this. Upon arrival, “we did not know
        what patients were in the Home or where they were.”
        She and her team put in 15-hour days trying to
        accurately count, assess, and cohort the patients.
        The existing census records were “incomplete” and
        “disorganize[d],” at best. It was “complete mayhem.”
        There were “not assessments being made on all
        patients.”

        . . . .

    •   The 1-North unit “looked like a war zone.” According
        to Ms. Colombo, this “hot” unit had veterans “crammed
        in on top of each other,” some of whom “were clearly
        dying.” There were “chairs of people lined up, some
        were clothed, some unclothed, some were wearing masks,
        some weren’t.”

    •   Ms. Colombo asked Ms. Lauziere (the Chief Nursing
        Officer) to explain the reasons for combining 1-North
        and 2-North, but “did not get an adequate response,
        other than it was done because of staffing . . . she
        appeared to know it wasn’t the right thing to do, but
        did it anyway.” It appeared to Ms. Colombo that “they
        pooled [veterans] together based on dementia status
        instead of COVID status.”

    •   Based on a review of records from the previous week,
        Ms. Liptak concluded that the Soldiers’ Home was badly
        understaffed during the previous days. Where there
        should have been 4 to 5 HPPD (healthcare provider
        hours per patient day), “they were not even at 1
        HPPD.”
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    •   Ms. Liptak observed some staff with gowns but no
        masks; some with only masks; and some with only gloves
        on. Her initial assessment was that there was “no
        understanding   of   what   the    infection   control
        guidelines were.” When Ms. Liptak scheduled an
        interview with Ms. Gosselin (Infection Control nurse)
        to discuss the events that had transpired, Ms.
        Gosselin reported that Ms. Lauziere (Chief Nursing
        Officer) and Ms. Surreira (Assistant Director of
        Nursing) “did not want to have anything to do with
        the infection control nurse.”

    •   Ms. Gosselin told Ms. Liptak that she “would rather
        be dead” than continue being at the facility; Ms.
        Liptak referred Ms. Gosselin to trauma and grief
        counseling.

Report at 111.

    52.   Defendants Walsh, Clinton, Lauziere, and Surreira

consistently failed to exercise minimally adequate professional

judgment in the administration of the Soldiers’ Home during the

pandemic and in the provision of care and treatment to the

veterans in the Home.

    53.   The actions, inactions, judgments, and decisions of

Defendants Walsh, Clinton, Lauziere, and Surreira directly

created unsafe conditions of confinement for the veterans at the

Soldiers’ Home, deprived them of basic care, denied them

minimally adequate treatment, and exposed them to harm.

    54.   As a direct result of the actions and inactions of

Defendants Walsh, Clinton, Lauziere, and Surreira, between March

1 and June 12, 2020, 160 veterans at the Soldiers’ Home were

infected with COVID-19, 76 of whom died as a result.

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    H.    Secretary Urena

    55.   The crisis at the Soldiers’ Home would have been

averted had Secretary Urena not acted with deliberate

indifference and substantially departed from accepted

professional standards.

    56.   Mr. Walsh’s shortcomings as Superintendent were well

known to Secretary Urena prior to the outbreak of COVID-19 at

the Soldiers’ Home.

    57.   Before Mr. Walsh was appointed as Superintendent in

May 2016, Secretary Urena was aware of the fact that Mr. Walsh

had no experience in either health care or health care

administration.   Report at 36-37.

    58.   On account of “Mr. Walsh’s lack of experience,”

Secretary of Health and Human Services Marylou Sudders

“instructed Secretary Urena to ensure that Mr. Walsh’s Deputy

Superintendent . . . would have a background in longterm care.”

Report at 37.

    59.   John Crotty was hired as Deputy Superintendent.

    60.   However, as Secretary Urena was aware, Mr. Crotty

resigned in June 2019.    As Secretary Urena was further aware,

following Mr. Crotty’s resignation, the Deputy Superintendent

role was left unfilled until the response team organized by Ms.

Sudders took over the administration of the Soldiers’ Home on

March 30, 2020.   Report at 43.

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    61.   As a result of ongoing concerns about leadership at

the Soldiers’ Home, the Commonwealth’s Executive Office of

Health and Human Services commissioned a study of the Soldiers’

Home by the Moakley Center for Public Management at Suffolk

University,” which was conducted by Nicole Rivers.        According to

the 2019 study:

    Ms. Rivers’ reports from the staff interviews are
    striking: she recounts that “staff were crying” during
    the interviews because they “need more help,” that they
    “felt bullied by management,” and were “overwhelmed with
    the amount of care they had to provide with limited
    resources.”

Report at 49-50.   Secretary Urena was aware of this study after

it was released, but took no action.

    62.   Issues persisted.    According to the Report:

    Secretary Urena noted that the high rate of staff
    turnover under Walsh’s leadership was a red flag and “if
    one more employee had quit [under Mr. Walsh’s
    management], there would be a more serious conversation
    that had to happen with him.” Secretary Urena explained
    that no other department had staff turnover at the level
    of the Soldiers’ Home in Holyoke. He emphasized that Mr.
    Walsh   would  get   defensive   if   asked  about   the
    resignations, and the Department of Veterans’ Services
    could not conduct exit interviews with the staff because
    they felt retaliation would ensue if they were to share
    their views in an exit interview.

Report at 38-39.

    63.   Thus, prior to the outbreak of COVID-19 at the

Soldiers’ Home, Secretary Urena was well aware of Mr. Walsh’s

shortcomings as Superintendent and took inadequate steps to



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protect the veterans at the Soldiers’ Home and keep them safe

from harm.

      64.   Secretary Urena was also keenly aware of Mr. Walsh’s

shortcomings in addressing the COVID-19 crisis.

      65.   Secretary Urena was present when Mr. Walsh addressed

the Soldiers’ Home Board of Trustees on March 10, 2020, at which

time “Mr. Walsh’s prepared presentation did not contain any

information about COVID-19.”      When asked about COVID-19, Mr.

Walsh did not address “clearing space at the Soldiers’ Home to

use as isolation areas for infected residents.”         Report at 65-

66.

      66.   On March 17, 2020, the date when Veteran 1 was tested

for COVID-19 symptoms, Mr. Walsh briefed Secretary Urena about

the “veteran with covid symptoms” (which Secretary Urena

attempted to deny during his interview with investigators).

Report at 96.

      67.   On March 21, 2020, Mr. Walsh reported to Secretary

Urena that Veteran 1 had tested positive for COVID-19.          Report

at 96.

      68.   On March 22, 2020, Mr. Walsh reported to Secretary

Urena that “[f]ive other veterans in the same ward who were

exhibiting symptoms have been tested,” and he provided “the

names of the direct care staff that worked at the facility from



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March 17 through March 21 who might have been exposed to the

symptomatic veterans.”      Report at 97.

       69.   On March 22, 2020, Mr. Walsh also communicated the

following information to Secretary Urena regarding Veteran 1:

       The veteran was encouraged to wear a mask, this was
       complicated by his dementia, he kept removing it and
       needed constant cues to keep on his face. Staff tried to
       keep him separate from the other vets on the unit. The
       staff were instructed to wear PPE when in contact with
       this veteran. This veteran has had respiratory symptoms
       on and off (+ pneumonia) and he has not left the
       building. His nephew was his only visitor prior to
       banning visitation and the board of health is following
       up with him. The veteran was isolated as soon as the
       positive test was received.

Report at 97 (emphasis in original).

       70.   On March 27, 2020, the date when Veteran 1 was tested

for COVID-19 symptoms, “Mr. Walsh told Secretary Urena that the

two [dementia] units were going to be consolidated during the

afternoon of March 27.”      Secretary Urena was “aware that both 1-

North and 2-North contained some COVID-19 positive veterans at

the time the units were combined” but did not object to their

consolidation.     Report at 109 (emphasis added).

       71.   On March 27, 2020, Secretary Urena also learned that

the situation at the Soldiers’ Home was so bad that Mr. Walsh

had requested the assistance of the National Guard.          Report at

100.

       72.   Given this backdrop, Secretary Urena should have

immediately taken affirmative steps to confirm protocols were in

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place and being implemented at the Soldiers’ Home, including

confirming that patients with COVID-19 or exhibiting COVID-19

symptoms were being isolated.     But no such intervention

occurred.    Secretary Urena received information and did nothing.

    73.     On the evening of March 28, 2020, SEIU Local 888

President Brenda Rodrigues contacted Secretary Sudders directly

to report the concerns of a nursing aide about the tremendous

number of deaths of veterans at the Soldiers’ Home.        Secretary

Sudders immediately contacted Secretary Urena.       Report at 103.

    74.     On March 29, 2020, “For the first time, the Department

of Veterans’ Services requested daily reporting of the number of

pending COVID-19 cases (i.e., veterans awaiting their test

results), the number of patients recovered from COVID-19, and

the number of deaths associated with pending or confirmed COVID-

19 cases.”    Report at 126.

    75.     But by that time, it was too late to avoid the crisis

that would follow.

    76.     The Report ultimately concluded that “the Department

of Veterans’ Services failed in its responsibility to oversee

the Soldiers’ Home,” Report at 16, explaining as follows:

    Secretary Urena recommended and approved Mr. Walsh’s
    appointment despite his lack of any healthcare
    administration experience. Once Mr. Walsh was in the
    role, Secretary Urena and his Chief of Staff soon
    developed concerns about his performance. They felt his
    communication skills were “poor” and he was “cryptic”
    and “not forthright in his communications.” They thought

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    he was “in over his head” and did not spend enough time
    at the Home. They observed massive turnover in Mr.
    Walsh’s staff, including clinical leadership positions.
    They had to hire an executive coach to work with Mr.
    Walsh on his anger management, and then had to extend
    this appointment in response to more complaints. And
    they were concerned that Mr. Walsh tried to control the
    flow of information in and out of the Home. Secretary
    Urena asserts that at one point, Mr. Walsh asked the
    Secretary of EOHHS to bar Secretary Urena from visiting
    the Home without giving Mr. Walsh prior notice.61
    Despite all this, Secretary Urena did not take
    sufficient action to address Mr. Walsh’s deficits, and
    allowed the Deputy Superintendent role to remain open
    for nine months—including the period of the COVID-19
    outbreak.

    One resource that should have been available to bring
    healthcare oversight experience was the Executive
    Director of Veterans’ Homes. In 2016, the Legislature
    created this role within the Department of Veterans’
    Services with reporting and oversite responsibilities
    for the Soldiers’ Home. The statute requires that an
    experienced healthcare executive hold this role. But the
    position—mandated by statute—was never filled, for
    budget reasons.

    A key oversight function is to make sure the right people
    are in important jobs. Here—for good reason—the
    Department of Veterans’ Services leaders did not believe
    Mr. Walsh was the right person for the job, but they did
    not take action to assure that there was competent
    leadership in place at the Soldiers’ Home.

Report at 16-17.

    I.    Joseph Sniadach, a veteran who suffered dementia, died
          of COVID-19 related illness on April 27, 2020.

    77.   Joseph Sniadach is a veteran who served in the Army

during the Korean War.

    78.   Joseph was an energetic soul who easily connected with

people and made friends wherever he went.       He enjoyed sports,


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cigars, food, casinos, and, more than anything, socializing with

family, friends, and just about anyone else he encountered.

    79.   Joseph moved from New Jersey to be with his family in

Hadley, Massachusetts, including his cousin Michael Sniadach,

Michael’s wife, Mary Jane Sniadach, and their children, Paul

Sniadach and Mary Jane Sniadach.

    80.   Joseph lived with Michael and Mary Jane Sniadach in

Hadley for approximately one and a half years.

    81.   Although Joseph was in good physical health, he

suffered from dementia at times.

    82.   Joseph and his family decided that he would be better

served by living in an assisted living facility.

    83.   In January 2020, Joseph moved into the Soldiers’ Home

and was placed in one of the Soldiers’ Home’s dementia units.

    84.   Sometime after Joseph came down with COVID-19

symptoms, he was admitted to the Holyoke Medical Center in

Holyoke, Massachusetts.

    85.   From the time that Joseph was diagnosed with COVID-19

through the time of his death, Joseph experienced conscious pain

and suffering.

    86.   Joseph died on April 27, 2020.

    87.   According to his death certificate, Joseph’s cause of

death included his COVID-19 infection.



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                                COUNT I
                         FOURTEENTH AMENDMENT
                   TO THE UNITED STATES CONSTITUTION
                           42 U.S.C. § 1983

    88.      The foregoing paragraphs are incorporated as if stated

here.

    89.      The Due Process Clause of the Fourteenth Amendment

provides that no State shall “deprive any person of life,

liberty, or property without due process of law.”

    90.      The defendants’ acts and omissions were under the

color of state law.

    91.      The defendants violated the rights of Joseph Sniadach,

and other similarly situated veterans who resided at the

Soldiers’ Home, by failing to protect them from harm, provide

them with a safe environment, and/or provide them with minimally

adequate medical and nursing care.

    92.      The defendants’ actions were a substantial departure

from accepted professional standards for the provision of

medical and nursing care in a nursing facility.

    93.      The defendants’ acts and omissions were done with

deliberate indifference, and constituted deliberate disregard

for the health, safety, and federal rights of the veterans of

the Soldiers’ Home.

    94.      The defendants’ acts and omissions shock the

conscience.


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    95.   Pursuant to 42 U.S.C. § 1983, the plaintiff seeks

recovery to the greatest extent available under the law for the

Estate of Joseph Sniadach and all others similarly situated who

either died or were infected by COVID-19 at the Soldiers’ Home.

    WHEREFORE, the plaintiff requests that the Court:

    1.    Certify a   class of individuals who suffered as a
          result of   contracting COVID-19 while residing at the
          Soldiers’   Home between March 1 and June 23, 2020,
          including   the estates of individuals who died as a
          result;

    2.    Order adequate notice pursuant to Fed Rule. Civ. P.
          23(c) and (d) to all member of the class;

    3.    Appoint undersigned counsel as counsel for the class
          pursuant to Fed. R. Civ. P. 23(g);

    4.    Award the plaintiff and class members damages to the
          fullest extent available under the law;

    5.    Grant any other relief to which the plaintiff and
          class members might be entitled.

    The plaintiff demands a trial by jury.

                           Respectfully submitted,

Date: July 17, 2020        /s/ Thomas Lesser

                           /s/ Michael Aleo
                           _____________________________
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